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12
                          UNITED STATES DISTRICT COURT
13
                        CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
                                               MEMORANDUM IN OPPOSITION
17   THIS DOCUMENT RELATES TO                  TO THE NFL DEFENDANTS’
     ALL ACTIONS                               MOTION IN LIMINE NO. 6 TO
18                                             EXCLUDE CERTAIN OPINIONS
                                               OF J. DOUGLAS ZONA
19

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21
                                               JUDGE: Hon. Philip S. Gutierrez
22                                             DATE: February 7, 2024
                                               TIME: 2:30 p.m.
23                                             COURTROOM:
24                                              First Street Courthouse
                                                350 West 1st Street
25                                              Courtroom 6A
                                                Los Angeles, CA 90012
26

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 1         Just like the motion this Court denied when it certified the classes in this case,
 2   the NFL’s second attempt to exclude Dr. Zona’s opinions is meritless. Each of Dr.
 3   Zona’s opinions is based on sufficient facts and data, is the product of reliable
 4   principles and methods, and reflects a reliable application of those principles and
 5   methods to the facts of this antitrust case. See Fed. R. Evid. 702(a)–(d). The NFL’s
 6   latest critiques, by contrast, are substantively misguided. Indeed, the NFL never
 7   really grapples with Dr. Zona’s opinions at all. Across its entire motion, the NFL
 8   cites just three paragraphs of Dr. Zona’s merits report, and a select few lines from
 9   nearly seven hours of deposition testimony.
10         At most, as this court previously ruled, “[t]he arguments raised by Defendants
11   are best characterized as arguments going to weight, not admissibility.” See Order
12   Certifying Classes, Dkt. 894, at 11 (denying first NFL motion to exclude Dr. Zona’s
13   opinions). The NFL may disagree with Dr. Zona’s conclusions, or believe that a
14   world without restraints on competition would not make consumers better off. The
15   NFL is free to present such arguments to the trier of fact.
16   I.    DR. ZONA’S DECISION TO ASSUME FIXED-FEE LICENSING IN
17         THE BUT-FOR WORLD IS RELIABLE.
18         The NFL first contends that it would be “economically irrational” to license
19   out-of-market NFL football telecasts using a fixed-fee licensing structure if those
20   telecasts were licensed to multiple distributors. See NFL Mot. at 3–4. That claim
21   contradicts sound economic principles, the NFL’s own internal analyses, and other
22   real-world evidence.
23         The NFL suggests that in Dr. Zona’s simulations,
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 1   Zona fails to account for the different market incentives facing                      in
 2   simulating his but-for worlds. See NFL Mot. at 3. This critique is nearly identical to
 3   a critique raised by the NFL against Dr. Rascher at the class certification stage in the
 4   NFL’s unsuccessful attempt to exclude Dr. Rascher’s testimony. See Mem. in Supp.
 5   of NFL Defs.’ Mot. to Exclude the Opinions of Daniel A. Rascher, Dkt. No. 705, at
 6   17–18 (Nov. 17, 2022).
 7          Dr. Zona’s decision to incorporate a fixed-fee licensing structure into his
 8   modeling properly accounts for all material economic incentives that would exist in
 9   the but-for world. To begin, the NFL fails to explain why it thinks the structures of
10   the out-of-market packages of the MLB, NHL, and NBA are good comparators with
11   respect to “practices” or “incentives,” but not, as Dr. Rascher suggests in his merits
12   report, “
13          ” and “all priced less expensively than NFL Sunday Ticket.” See ECF 962-4,
14   Expert Report of Daniel A. Rascher, dated February 17, 2023 (“Rascher Merits Rpt.”)
15   ¶¶ 154–56. The NFL even ignores that consumers can access all out-of-market NHL
16   games by subscribing to ESPN+ for just $11 per month. See, e.g., id. ¶ 393 & n.517.
17   Like at the class certification stage, the NFL’s arguments are inconsistent. Compare
18   Dkt. No. 703-1, at 9 (first motion to exclude Dr. Zona’s opinions) (“The opinion in
19   Laumann is directly on point.”) with Dkt. No. 828, at 6, 12 (NFL Opposition to
20   Yurukoglu Disqualification) (“[There are only] vague similarities between Laumann
21   and the case before this Court.”) and Dkt. No. 829, at 3 (“Laumann is directly on
22   point.”).
23          The NFL’s citation to Murphy Tugboat is similarly off point. The NFL cites
24   Murphy Tugboat because there the Ninth Circuit “overturned a damages award in an
25   antitrust trial because the plaintiff’s economist had failed to account for the fact that
26   the defendant would have cut its prices if a new competitor had entered the market.”
27   NFL Mot. at 2 (citing 658 F.2d 1256, 1262) (emphases added). That holding cuts
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 1   squarely against the NFL. Throughout this case, the NFL’s economists have ignored
 2   the basic law of supply and demand. Instead, it is Plaintiffs—including through Dr.
 3   Zona—who have marshalled significant economic and real-world evidence that
 4   reliably demonstrates that making additional out-of-market football telecasts
 5   available—in various packages and through various media—would benefit
 6   consumers through greater choice and lower prices. See Murphy Tugboat, 658 F.2d
 7   at 1262 (concluding that prices for extant product “would have [been] cut … if a new
 8   competitor had entered the market”).
 9         While the MLB, NHL, and NBA have had multi-distributor out-of-market
10   licensing arrangements that have included per-subscriber fee arrangements, these
11   arrangements vary widely and have changed over time. See Rascher Merits Rpt.,
12   ¶¶ 415–18 (
13                                                        ). In any event, there are good
14   reasons why Dr. Zona did not implement such a hypothetical licensing structure here.
15   And he certainly was not required to do so to satisfy any economic rule. Each of the
16   NFL’s current broadcast agreements is                  , and Dr. Zona’s decision to
17   maintain that assumption in his modeling makes his but-for-world analyses more
18   precise. Further, in Canada, Sunday Ticket is distributed non-exclusively, see, e.g.,
19   Rascher Merits Rpt., ¶¶ 105, 382–84, yet the NFL does not
20                             .
21         More generally, fixed-fee licensing structures have significant operational
22   benefits. They provide certainty and limit downside by guaranteeing a consistent
23   revenue stream. They can also better align the incentives of the contracting parties.
24   For example, an internal 2016 NFL presentation shows
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 4                                                  . What results, then, is not a single set
 5   of preferences—or the prohibition on individual preferences—but a distribution of
 6   preferences within a DMA, populated by the relative likelihood that a viewer in the
 7   DMA would prefer one game over another. 2
 8         The NFL’s hypothetical concerning the Rams, Chargers, and Cowboys games
 9   is thus misleading. The NFL says that Dr. Zona’s model predicts that, “
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13            ” NFL Mot. at 6. (emphases the NFL’s). This statement distorts what Dr.
14   Zona’s model is designed to do. Dr. Zona’s model predicts what proportion of
15   consumers within a DMA will choose to switch to the Chargers game, and what
16   proportion will switch to the other available games. It does not in any way assume
17   that every individual in the DMA has the same tastes or will take the same action if
18   presented with a new slate of games.
19         In fact, nowhere in his report does Dr. Zona make claims about particular
20   individual consumers or what they would do if they had access to different NFL
21   games. Instead, to use the NFL’s example, Dr. Zona’s model predicts what all Los
22   Angeles Rams viewers are likely to do if a Rams telecast went away. The NFL
23   mistakes Dr. Zona’s choice to employ a distributional approach as an omission of an
24   individual one, and then misleadingly suggests that Dr. Zona’s model is constructed
25   with individuals with identical preferences.
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      Nor is it necessary to do so to measure what the difference in price would be to all
     viewers in a DMA.
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 1         The NFL’s reliance on Google Play also is inappropriate. For one, Dr. Zona
 2   does not employ a “logit model” of the type apparently at issue in Google Play.
 3   Rather, he employs a nested-logit model. See Dkt. 1130, Ex. 2, Expert Reply Report
 4   of J. Douglas Zona, ¶ 11. Importantly, Dr. Zona’s nested-logit model is not subject
 5   to the same type of independence of irrelevant alternatives (“IIA”) property that led
 6   Judge Donato to exclude the economist’s testimony in Google Play. Indeed,
 7   econometricians developed the nested-logit model in large part to lessen the effect of
 8   the IIA property. See e.g., Moshe Ben-Akiva and Steven R. Lerman, Discrete Choice
 9   Analysis 286 (1985) (“Two general approaches have been developed to cope with
10   this problem. … The first approach is called the nested logit model.”).
11         Further, the real-world economics at issue in Google Play do not apply to Dr.
12   Zona’s model. In Google Play, the problem with the expert’s model was that the
13   model “[did] not provide any boundaries on substitution in broad categories [of
14   products] that contain many unlike products.” Google Play, 2023 WL 5532128, at
15   *7. The court noted that the expert’s model, for example, “assume[d] that if Rosetta
16   Stone raised its price and some customers substituted away,” a botany app called
17   Picture-This-Plant-Identifier “would capture a larger percentage of these switching
18   customers than Duolingo”—a language app similar to Rosetta Stone—“simply
19   because Picture-This-Plant-Identifier has a larger category share than Duolingo.” Id.
20   at *6. The expert confirmed that his model made such a prediction. Id. Here, unlike
21   Google Play, not only has Dr. Zona constructed his nested-logit model to avoid mis-
22   substitution, but the universe of alternative products to which any one consumer can
23   switch is limited to a select few football games broadcast on Sunday afternoons, and
24   the NFL makes no attempt to suggest that any substitutability among those games in
25   Dr. Zona’s model is inappropriate.
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 1   III.   DR. ZONA APPROPRIATELY COMPARES ACTUAL AND BUT-FOR
 2          WORLD PRICES IN HIS CONJOINT MODEL.
 3          The NFL finally claims that Dr. Zona impermissibly “
 4                                                                              .” NFL Mot.
 5   at 8. The NFL’s criticism is misguided. In his Conjoint Model, Dr. Zona concludes
 6   that the market price for Sunday Ticket in a world with one additional Sunday Ticket
 7   competitor would have been $           , see ECF 962-34, Expert Merits Report of J.
 8   Douglas Zona, Ex. 20, in line with the prices for out-of-market game packages sold
 9   by other major American sports leagues. Dr. Zona then compares that price to
10   $295.00—the approximate retail price at which the Sunday Ticket package was sold
11   during the class period—to assess the effect that competition would have had on the
12   price of the Sunday Ticket in a world without the challenged restraints.
13          In its motion, the NFL does not challenge the reliability of Dr. Zona’s profit-
14   maximizing price calculations. Nor does it challenge the reliability of the data on
15   which Dr. Zona’s calculations relied (the results of Sarah Butler’s survey). Instead,
16   the NFL complains that Dr. Zona should have compared $                      (the profit-
17   maximizing price of Sunday Ticket with one competitor) not to $295.00 (the retail
18   price of Sunday Ticket without any competitors) but to $             , a different price
19   derived in a different model using different data.
20          The NFL’s argument is demonstrably flawed. First, $           is not a retail price
21   or a profit-maximizing price but t
22               . Moreover, that price is not even derived using Conjoint Model data;
23   instead, it is based on the vast amounts of                               that Dr. Zona
24   analyzed in his Transaction & Viewership Model. Finally, as an average price,
25   $        includes all sorts of corporate promotions that do not exist in the survey
26   data—and thus do not exist in Dr. Zona’s Conjoint Model—including discounts,
27   early cancellations, early terminations, free trials, employee referrals, and many other
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 1   such promotions. Sunday Ticket was never sold for $                , and no consumer
 2   actually paid that price, except by coincidence. The NFL is not comparing like with
 3   like—the two models approach the question of price differently.
 4         A review of Sarah Butler’s expert report reveals the root of the NFL’s mistake.
 5   In her survey, Ms. Butler presented respondents with a “
 6

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 8                         . See Trainer Decl. Ex. 2, Expert Report of Sarah Butler, dated
 9   February 17, 2023 (“Butler Merits Rpt.”) ¶ 103. The choice exercise also presented
10   survey respondents with “                              ” for each such package. As Ms.
11   Butler makes clear, those prices “
12                                                  ,” which was informed by her “
13                               ” Id. ¶ 113.
14

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17                                                                Dr. Zona’s comparison of
18   $158.50 to $295.00 to assess the effect of competition in his Conjoint Model thus is
19   appropriate.
20         Even internal pricing surveys commissioned by the NFL
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  4             Ms. Butler discusses these and other surveys and their pricing methodology
  5   extensively in her report. See Butler Merits Rpt., Sec. V.A, ¶¶ 19–45.
  6         The NFL also claims that the prices Dr. Zona calculates in his Conjoint Model
  7   are “net prices,” see Mot. at 7–8, and cites his deposition testimony for support.
  8   Again, the NFL’s claim is misguided. Dr. Zona does not say that the prices he
  9   calculates in his Conjoint Model are net prices but the opposite. As discussed, Ms.
 10   Butler excludes discounts and other promotions from her survey, and Dr. Zona
 11   therefore excludes them from his calculations. Moreover, while survey respondents
 12   included some DirecTV or Sunday Ticket subscribers, “
 13

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 15                                                                                        .”
 16   Butler Merits Rpt., ¶ 103. In other words, survey respondents were never told that
 17   their willingness to pay a certain price for a certain NFL telecast package would later
 18   be discounted by some set of discounts. Indeed, the majority of survey respondents
 19   were not Sunday Ticket subscribers, and the majority of those who were Sunday
 20   Ticket subscribers reported paying either $293.96 or $395.99. Butler Merits Rpt.,
 21   Tables 7, 8. So, even if a survey respondent was aware of DirecTV’s promotional
 22   regime, the majority reported paying at least the price that Dr. Zona used as a
 23   benchmark.
 24         In short, Dr. Zona compares prices differently across his models but
 25   consistently within them. In the Conjoint Model, Dr. Zona models demand for out-
 26   of-market football telecasts using survey data that was based on Sunday Ticket list
 27   prices. Dr. Zona’s Conjoint Model simulations thus compared the resulting
 28                                              9
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  1   competitive prices to those list prices. In the Transaction & Viewership Model, by
  2   contrast, Dr. Zona models demand for out-of-market football telecasts using
  3   transactions data based upon prices consumers actually paid. In that model, price
  4   simulations assume that                                                              .
  5   Both models compute price changes in a but-for world with added competition, and
  6   both models employ consistent principles to do so.
  7                                         *****
  8         In short, the NFL Defendants have not shown that any of Dr. Zona’s opinions
  9   do not meet Rule 702’s test for reliability. All of the NFL Defendants’ critiques are,
 10   at most, fodder for cross-examination for the jury’s consideration, not grounds for
 11   exclusion.
 12   IV.   CONCLUSION
 13         For the foregoing reasons, it is respectfully submitted that the NFL
 14   Defendants’ Motion in Limine No. 6 to Exclude Certain Opinions of J. Douglas Zona
 15   should be denied.
 16

 17   Dated: January 19, 2024                Respectfully submitted,
 18

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